Case: 3:15-cr-00054-wmc Document #: 2 Filed: 04/23/15 Page 1 of 1
‘1548 (1/96) Electronic Version Criminal Case Cover Sheet - U.S. District Court

SEALED _
Place of Offense: Related Case Information: 1 oy ER OF ds, WN) M G

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

City: Superseding ———_—s Docket Nu
County / Parrish: Same Defendant New Defendant m
Magistrate Judge Case Number x a ey
Search Warrant Case Number OL Up. 225
R 20 / R40 from District of a SP
Defendant information: a vo “tp
Matter to be Sealed - v Yes No “ vO fe
Def. Name: Amadou Camara ae 2
Alias Name:
City/State: Chicago, IL
Year of Birth: 1991 Last 4 digits of SSN 2493
Sex: M Race: B
U.S. Attorney Information:
AUSA: ROBERT A. ANDERSON Bar #:
Interperter: Y No __ Yes List language and/or dialect:
Location Status:
Arrest Date:
Already in Federal Custody as of: in

— Already in State Custody

On Pretrial Release
U.S.C. Citations:
Total # of Counts: 2 Petty Misdemeanor Y Felony

—_ Class A a
Class B
Class C
Index Key/Code Description of Offense Charged Counts(s)

Set1 21 USC § 846 conspiracy to distribute marijuana 1
Set2 21 USC § 846 attemtp to possess with intent to distribute marijuana 3
Set 3
Set 4
Set 5
Set 6

 

Date: Signature of AUSA /s/ ROBERT A. ANDERSON

 

 
